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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 SECURITIES AND EXCHANGE COMMISSION,

           Plaintiff,

           v.                                              Case No. 17-cv-11633-DJC

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,
      Defendants.



                                XXXXXXXXXX FINAL JUDGMENT
                               [PROPOSED]

          On February 13, 2020, this Court allowed the Plaintiff Securities and Exchange

Commission’s Motion for Partial Summary Judgment on Counts One and Two of the Complaint

finding that the Defendants intentionally or recklessly violated Sections 206(1) and 206(2) of the

Investment Advisers Act of 1940 (“Advisers Act”). Subsequently, the Commission moved, with

Defendants’ consent, to dismiss the remaining counts of the Complaint which has been granted.

Accordingly, the Court enters judgment as follows:

                                                 I.

          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants are

permanently restrained and enjoined from violating Sections 206(1) and (2) of the Investment

Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. §§ 80b-6(1)] by, directly or indirectly, using

the mails or of any means or instrumentality of interstate commerce, (a) employing any device,

scheme, or artifice to defraud any client or prospective clients, or (b) engaging in any transaction,

practice, or course of business which operates as a fraud or deceit upon any client or prospective

client.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in
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Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants are

jointly and severally liable for disgorgement of $28,964,571, representing profits and sale

proceeds gained as a result of the conduct alleged in the Complaint, together with prejudgment

interest thereon in the amount of $6,513,619. Defendants shall satisfy this obligation by paying

$28,964,571 to the Securities and Exchange Commission within 30 days after entry of this Final

Judgment.

       Defendants may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Navellier & Associates and Louis Navellier as Defendants in this action, and

specifying that payment is made pursuant to this Final Judgment.



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       Defendants shall simultaneously transmit photocopies of evidence of payment and case

identifying information to Commission’s counsel in this action. By making this payment,

Defendants relinquish all legal and equitable right, title, and interest in such funds and no part of

the funds shall be returned to Defendants. The Commission shall send the funds paid pursuant to

this Final Judgment to the United States Treasury.

       If disgorgement is ordered, the Commission may enforce the Court’s judgment for

disgorgement and prejudgment interest by moving for civil contempt (and/or through other

collection procedures authorized by law) at any time after 30 days following entry of this Final

Judgment. Defendants shall pay post judgment interest on any delinquent amounts pursuant to

28 U.S.C. § 1961.

       The Commission shall hold the funds (collectively, the “Fund”) and may propose a plan

to distribute the Fund subject to the Court’s approval. The Court shall retain jurisdiction over the

administration of any distribution of the Fund. If the Commission staff determines that the Fund

will not be distributed, the Commission shall send the funds paid pursuant to this Final Judgment

to the United States Treasury.

       The Commission may enforce the Court’s judgment for disgorgement and prejudgment

interest by moving for civil contempt (and/or through other collection procedures authorized by

law) at any time after 30 days following entry of this Final Judgment. Defendant shall pay post

judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                                 III.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Navellier

                                                         2,000,000
& Associates shall pay a civil penalty in the amount of $_____________ and Louis Navellier

                                             500,000
shall pay a civil penalty in the amount of $_____________ to the Securities and Exchange

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Commission pursuant to Section 209(e) or the Advisers Act [15 U.S.C. §80b-9(e)]. Defendants

shall make this payment within 30 days after entry of this Final Judgment.

       Defendants may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

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and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; Navellier & Associates and Louis Navellier as Defendants in this action, and

specifying that payment is made pursuant to this Final Judgment.

       Defendants shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendants relinquishes all legal and equitable right, title, and interest in such funds and no part

of the funds shall be returned to Defendants. The Commission shall send the funds paid pursuant

to this Final Judgment to the United States Treasury. Defendants shall pay post-judgment interest

on any delinquent amounts pursuant to 28 USC § 1961.




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                                                IV.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.




                                                      So ordered.


                                                         __________________
                                                      _________________________________
                                                        n Denise JJ. Casper
                                                      Hon.
                                                      United States District Court Judge

        June 2, 2020
Dated: ___________________________




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